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12 Antoinette O’Gorman, Eric van Miltenburg,
   Susan Athey, Zoe Cruz, Ken Kurson, Ben
13 Lawsky, Anja Manuel, and Takashi Okita

14                           UNITED STATES DISTRICT COURT
15                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                         )
16   IN RE RIPPLE LABS INC. LITIGATION   ) CASE NO.: 18-6753
                                         )
17
     This Document Relates To:           ) CLASS ACTION
18                                       )
          ALL ACTIONS.                   ) DEFENDANTS’ CERTIFICATE OF
19                                       ) INTERESTED ENTITIES OR PERSONS
                                         ) PURSUANT TO F.R.C.P 7.1 AND
20                                       ) LOCAL CIVIL RULE 3-15
                                         )
21                                       )
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     CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
           Case 4:18-cv-06753-PJH Document 1 Filed 11/07/18 Page 2 of 2



 1          Pursuant to Civil Local Rule 3-15 and Rule 7.1 of the Federal Rules of Civil Procedure, the
 2 undersigned Defendants Ripple Labs Inc. and XRP II, LLC certify that the following listed

 3 persons, associations of persons, firms, partnerships, corporations (including parent corporations)

 4 or other entities (i) have a financial interest in the subject matter in controversy or in a party to the

 5 proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

 6 substantially affected by the outcome of this proceeding:

 7          Ripple Labs Inc. has no parent corporation. SBI Holdings Inc. is a publicly held corporation
 8 that owns 10% or more of the stock of Ripple Labs Inc.

 9          The parent corporation of XRP II, LLC is Ripple Labs Inc. No publicly held corporation
10 owns 10% or more of the membership interests in XRP, II LLC.

11          Pursuant to Civil Local Rule 3-15, the undersigned Defendants Bradley Garlinghouse,
12 Christian Larsen, Ron Will, Antoinette O’Gorman, Eric van Miltenburg, Susan Athey, Zoe Cruz,

13 Ken Kurson, Ben Lawsky, Anja Manuel, and Takashi Okita certify that as of this date, other than

14 the named parties, there is no such interest to report.

15          Defendants reserve the right to supplement this disclosure statement if needed.
16 DATED: November 7, 2018

17                                            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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19                                            By:                  /s/Peter B. Morrison
                                                                   Peter B. Morrison
20                                                              Attorney for Defendants
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     CERTIFICATE OF INTERESTED ENTITIES OR PERSONS
